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                                                                                  Wednesday, 06 March, 2019 03:15:11 PM
                                                                                           Clerk, U.S. District Court, ILCD

                               IN THE UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF ILLINOIS

JOHN DOE,                                               )
                                                        )        Case No:
                  Plaintiff,                            )
                                                        )
         V.                                             )        JUDGE:
                                                        )
BOARD OF TRUSTEES OF THE                                )
UNIVERSITY OF ILLINOIS                                  )
                                                        )
                  Defendant.                            )



                     COMPLAINT FOR INJUNCTIVE AND OTHER RELIEF
                                 (Jury Trial Demanded)



         NOW COMES Plaintiff, John Doe 1, by and through undersigned counsel, Eric F. Long, of

Friedman & Nemecek, L.L.C., and for his cause of action against the Defendant, Board of Trustees

of the University of Illinois ("the Board"), states the following:


                                         NATURE OF THE ACTION

    1. This is an action for declaratory and injunctive relief and for damages arising out of a

decision by the Board to separate Plaintiff, John Doe, from the University of Illinois at Urbana-

Champaign ("the University") effective and withhold his Master of Business Administration

("MBA") degree following the completion of his course work and walking at his graduation

ceremony, without, inter alia, proper notice and a hearing in violation of the Due Process rights


1
  Plaintiff is contemporaneously filing a Motion for Permission to Proceed under Pseudonym. Plaintiff is entitled to
proceed anonymously because of the highly sensitive nature of the disciplinary proceedings against him that form
the basis of this Complaint, and the fact that the University is fully aware of his identity and will not be prejudiced in
any way. Plaintiff also seeks to maintain the privacy rights of his accuse by requesting permission to identify her
anonymously as "Jane Roe".
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afforded to Plaintiff by the Fourteenth Amendment Right to the United States Constitution. The

case arises out of the actions taken and procedures employed by the Board, concerning false and

unsubstantiated allegations of nonconsensual sexual assault made against Plaintiff, a MBA student.

   2. The allegations underlying the actions taken by Defendant concern purported sexual

activity that occurred on or about October 7, 2017 between Plaintiff and Jane Roe, a fellow MBA

student at the University.

   3. After John Doe applied to, and was accepted by the University, he was provided copies of

the University's Student Code, Policy on Sexual Misconduct and its Student Disciplinary

Procedures, which are available on the University's website. The aforementioned documents are

Defendant's representations and covenants to Plaintiff, which provide a property right in his

education and degree from the University as well as a liberty interest in his good name and

reputation that may not be taken by a governmental actor, such as Defendant, without the Due

Process afforded by the United States Constitution.

   4. The aforementioned documents do not allow for the Defendant to deny or diminish John

Doe' Due Process rights in liberty and property.

   5. In exchange for these covenants, and in reliance on the documents and the conditional

promise of his MBA degree, John Doe agreed to complete the course work necessary to earn his

degree, pay his tuition and other expenses owed to the University and abide by the University's

written policies, thereby forming an express and/or implied contract between the Board and John

Doe.

   6. Following the completion of his course work and his participation in the graduation

ceremony, John Doe received notice on or about June 4, 2018 that he was the subject of a sexual




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assault charge. John Doe met with investigators, January Boten and Debra Imel, on or about June

19, 2018 for an interview.

    7. The investigators were authorized by Defendant to have full control over the investigation

and the resulting Investigative Report, which would be submitted to the Panel established by the

University for a decision on whether John Doe violated the Student Code and if so, appropriate

sanctions. The investigators conducted some witness interviews, none of whom could provide any

account of what took place between John and Jane, Jane's level of intoxication and/or her ability

to consent. The investigators also obtained electronic communications between and/or involving

John Doe and Jane Roe. Both John Doe and Jane Roe were permitted to review the evidence,

provide comments to clarify and submit follow up questions for the investigators to ask the other

party.

    8. Ultimately, a Final Report (did you have a chance to review it) was issued and submitted

to a Hearing Panel ("the Panel"), which was held on or about September 27, 2018. John Doe did

not have an opportunity to review the Final Report and was not advised as to the location of time

or location of the hearing and was not permitted to attend to present testimony, witness testimony

or cross-examine adverse witnesses.

    9. Instead based on the investigators' report alone, the Panel determined that John had gone

to Roe's apartment on October 6, 2017 and consumed alcohol with Roe. The Panel further

determined that Doe had sex with Roe three times while Roe was incapacitated and not able to

provide consent, in violation of Student Code 1-1302.b. l.

    10. In issuing its rationale for the finding, the Panel found that Doe had not demonstrated that

Roe's consent had not been "affirmatively given." Doe was dismissed from the school and advised

that he would not receive his MBA degree. Doe was permitted to petition the University for



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reinstatement for the Spring 2020, semester. Presumably, upon being reinstated, Doe would

receive the degree that he had already earned.

   11. On or about October 4, 2018, Doe appealed the Panel's finding. On October 25, 2018, the

Senate Committee on Student Discipline ("SCSD") met regarding the appeal and found that the

hearing process was not in conformity with prescribed university procedures. Specifically, the

SCSD found that the rationale for the decision by the original Panel "did not logically support the

statement of fact and determination of responsibility." The SCSD remanded the matter back for a

new panel review.

   12. On or about November 12, 2018, a new Panel reviewed the matter and determined that Doe

and Roe had consumed alcohol on October 6, 2017 into October 7, 2017 and that Doe and Roe

had sex three times. The Panel determined that Roe was incapacitated during the third sexual

encounter and was not able to provide consent. Plaintiff was again subject to dismissal from the

University and given an opportunity to be heard on the issue of reinstatement beginning in 2020.

   13. Plaintiff appealed the decision on or about November 20, 2018. On or about December

10, 2018, the Senate Committee on Student Discipline convened to review Doe's appeal. The

Panel's findings and sanctions were upheld by the Senate Committee.

   14. Neither hearing before the Panel was constitutionally sufficient as it did not permit the

finders of fact to hear testimony from Plaintiff, Jane Roe, or other witnesses. Nor was Plaintiff

permitted to cross-examine Jane or adverse witnesses before the Panel.

   15. The University dismissed Plaintiff after a closed-door hearing without allowing him, Jane

Roe, or any witnesses to appear or to testify before the Panel. Plaintiff was not afforded the

opportunity to present his testimony or evidence to the panel in a manner that would assist the

Panel in determining the credibility of either party. Plaintiff was not permitted to cross-examine



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Jane Roe or any other person listed in the report as having provided an interview or other evidence.

The Panel, after reviewing the hearsay laden Final Investigative Report, made findings regarding

John's credibility without his presence. The Defendant conducted its process despite objections

from Plaintiff relative to the lack of an in-person hearing.

    16. At all relevant times during the investigative process, Plaintiff was no longer a student at

the University. He had completed his course work, participated in graduation and moved to

Boston, Massachusetts for a job. Despite the fat that he was no longer on campus and had received

no prior allegations of violating the Student Code, the University withheld his diploma, which is

not only required for his continued employment, but also has a drastic negative impact on

Plaintiffs immigration status in the United States.

    17. The Defendant's actions resulted in a taking of Plaintiffs right to his MBA degree and puts

his employment and immigration status in immediate jeopardy and permanently damaging his

good name and reputation. These property and/or liberty interests have been and will continue to

be taken from Plaintiff without a fair hearing, including the opportunity to be heard and the right

to cross-examine adverse witnesses. The hearing process is devoid of basic fairness and is afoul

of Constitutionally protected Due Process rights and the Defendant's own policies.

    18. Defendant' s actions will forever irreparably harm Plaintiff for the delay in obtaining the

MBA degree that he had already earned, and the opportunity to continue his employment and his

visa status in the United States.

    19. Plaintiff will be forced to explain, for the remainder of his professional life, why his degree

was not conferred or why a significant gap exists. He will also be forced to explain why he was

unable to continue with his employment and why his immigration status was impacted.




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    20. For these reasons, Plaintiff brings this action to obtain injunctive and declaratory relief,

and attorney' s fees and costs against the University for violating Due Process afforded by

Plaintiffs Fourteenth Amendment Right.

                                         JURISDICTION

    21. This Court has jurisdiction pursuant to 28 U.S.C. § 1331, 28 U.S.C. §1343, 42 U.S.C.

§ 1983 and § 1988, and the Fourteenth Amendment to the Constitution of the United States of

America.

                                             VENUE

   22. Venue is appropriate under 28 U.S.C. §1391(b).

                                            PARTIES

   23. Plaintiff, John Doe, is a natural person who resides in the State of Massachusetts. At the

time of the alleged sexual misconduct, John was enrolled as a full-time, tuition-paying MBA

student at the University.

   24. Defendant is a body corporate and politic having power, inter alia, to plea and be

impleaded, to make and establish by-laws, and to alter or repeal the same as they deem necessary,

for the management or government, in all its various departments and relations, of the University

of Illinois, for the organization and endowment. See, 110 ILCS 305/1 . The Board is sued in each

and every cause of action, in any and all capacities.

                                  FACTUAL ALLEGATIONS

   I.      The Relationship between John and Jane through October 7, 2018.

   25. John Doe and Jane Roe met in the fall semester of 2017 at a social event at, or near, the

University, while he was a second year MBA student. Jane Roe was a first year MBA student.




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   26. In or about September 2017, Doe and Roe exchanged phone numbers and went out

socially, both in group settings and alone.

   27. On or about October 3, 2017, Doe and Roe made plans to see a movie on October 6,

2017. The plan was to study together, go to the movie and then return to her apartment to have

drinks and socialize.

   28. Roe and Doe studied together at Gregory Hall before going to a 7:00 p.m. movie.

   29. While at the movie, Roe held Doe's hand.

   30. Following the movie, Roe told Doe that she had enjoyed herself at the movie and that she

was going to miss him the following year.

   31. On the way back to Roe' s apartment, she and Plaintiff discussed getting alcohol to drink

and stopped at the store for vodka and orange juice.

   32. Doe and Roe arrived at Roe's apartment at approximately 11 :00 p.m.

   33 . At the apartment, Doe and Roe made drinks for himself, Roe and one of Roe's

roommates. The drinks contained a small amount of vodka and a large amount of orange juice.

   34. One of Roe's roommate joined them and had a few sips of a drink before reporting that

she had an assignment to complete and that she was not going to drink and socialize with

Plaintiff and Jane Roe.

   35. Doe and Roe consumed the drinks slowly and engaged in conversation about a variety of

topics, including music and Hindi songs that they were listening to.

   36. Doe and Roe began slow dancing together and began kissing each other.

   37. At approximately 1:30 a.m., Doe made each of them another drink containing

approximately the same amount of alcohol and orange juice as the prior drink.




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   38. The discussions became sexual in nature and Plaintiff and Roe began to make out and

helped take each other's shirts off. Roe assisted Plaintiff in removing her bra and she removed

her own jeans. Doe and Roe had a joking conversation about Roe's breast size and Roe joked

about Doe's receding hairline.

   39. Doe asked Roe if he could touch her "there" referring to Roe's vagina. Roe responded

affirmatively.

   40. While Doe was touching her vagina, Roe called Doe by name and encouraged the contact

with verbal and non-verbal cues.

   41. Doe asked Roe whether he should get a condom and Roe responded yes.

   42. After putting the condom on, Doe and Roe had sexual intercourse.

   43. Prior to the sexual encounter, and again during intercourse, Roe told Doe "I love you."

   44. At approximately 2:00 a.m., Roe wanted to get on top of Doe and engage in sexual

intercourse. Due to issues with the first condom, Doe retrieved another condom from his bag

and placed it on himself. Roe then initiated sexual intercourse with Doe.

   45. Immediately following intercourse, Doe had to use the bathroom and got up from the bed.

Upon returning to the bedroom, Doe observed Roe finishing her drink, which had been left prior

to the sexual encounter.

   46. Immediately after finishing the drink, Roe vomited a small amount on her clothes and

bedsheet. Roe did not vomit further or exhibit any signs that she was incapacitated or unable to

consent.

   47. Doe went to the kitchen to get Roe some hot water with lemon. While in the kitchen, one

of Jane's roommates commented to Doe about the noise that they had been making. Despite

Plaintiffs request to the investigators, this witness was not interviewed.



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    48. Upon returning with the water, Roe was lying in bed and appeared ready to go to sleep.

    49. Doe offered Roe clothes and covered her with a blanket.

    50. Doe asked Roe if she wanted him to leave. Roe responded by stating that Doe should

stay.

    51. Doe went to sleep at approximately 3 :00 a.m.

    52. At approximately 5:00 a.m., Doe woke up and Roe was awake in bed. Roe kissed Doe

and they began having sex. Doe advised that he did not have a condom, however Roe continued

to engage in consensual sexual intercourse.

    53 . Doe left the bedroom to reheat Roe's lemon water and upon returning, Roe claimed that

she had no recollection of the dancing or the sexual encounters, including the sex that occurred

approximately fifteen minutes prior.

    54. Roe became upset as she discussed her boyfriend in India. Roe repeatedly commented

that that she had cheated on her boyfriend and told Doe that she had "messed everything up."

    55. At no time during the sexual encounter did Roe ever tell Doe to stop, or engage in any

behavior that would convey her lack of, or inability to, consent.

    56. To the contrary, Roe verbalized consent, initiated sexual contact and ex~ibited non-verbal

indications of consent during each sexual encounter.

    57. John Doe is an Indian citizen, who at all relevant times was residing in the United States

pursuant to a student visa, which, upon information and belief, expires one year after he graduates

and/or obtains his degree.

    58. On or about July 1, 2018, Doe moved to Boston, Massachusetts to begin his full time

employment as a project manager.




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   59. John Doe's continued employment is contingent on his receipt of his MBA degree, as he

has been advised by his employer that ifhe does not have his MBA degree by April 15, 2019, he

will be terminated, and the company will not sponsor him for immigration purposes.

   60. Upon information and belief, John Doe's employer intends to sponsor him for a work visa

through the H-lB visa program.

   61. Upon information and belief, John Doe's chances in the visa lottery are significantly higher

with an MBA degree than without.

   62. Upon information and belief, if John Doe does not earn his MBA degree, he prospects for

remaining employed in his current job and his chances to remain in the United States are drastically

reduced.

   II.      The University's Sexual Misconduct Policy and Student Conduct Protocol for
            allegations of Sexual Misconduct

         1. The University's Sexual Misconduct Policy

   63. At the time of Jane Roe's complaint against John in June 2018, the Defendant's Policy on

Sexual Misconduct ("Policy") supplied the definition of sexual assault and consent, which were

applied to the charges against John.

   64. Defendant incorporates definitions and terms of the Policy in its Student Code ("Code")

found at studentcode.illinois.edu, contained on the University website. See true and correct copy

of the relevant portions of the Student Code attached hereto as Exhibit "A." The Code notes that

the rules apply to all undergraduate, graduate, and professional students enrolled at the University.

    65. The Code includes the Defendant's basis for discipline, source, and jurisdiction. The Code

details that the Defendant provides the authority to the Senate Committee on Student Discipline

("SCSD") to be "responsible for the administration of student discipline for acts involving

violation of campus or University regulations."

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   66. The Code further details "that the basis for discipline at this campus be clearly defined."

   67. The Code provides for "Rules of Conduct" in which students are subject to discipline and

includes examples of conduct that violates the University's Policy, including sexual assault.

   68. The Policy defines "sexual misconduct" to include "sexual assault." The Policy further

defines, under §1-11 l(c)(2)(a-b), "sexual assault" as "any sexual contact that does not involve the

knowing consent of each person, including any form of sexual penetration without consent; and

any intentional or knowing touching or fondling by either person, directly or through clothing, of

the sex organs, buttocks, or breasts of the other person for the purpose of sexual gratification or

arousal of either person without consent."

   69. The Policy defines "consent" as follows :

       Consent is informed, freely and actively given, mutually understandable words or
       actions that indicate a willingness to participate in mutually agreed upon sexual
       activity. A person can withdraw consent at any time. There is no consent when there
       is force, threats, intimidation, or duress. A person's lack of verbal or physical
       resistance or manner of dress does not constitute consent. Consent to past sexual
       activity with another person does not constitute consent to future sexual activity
       with that person. Consent to engage in sexual activity with one person does not
       constitute consent to engage in sexual activity with another person. A person cannot
       consent to sexual activity if such person is unable to understand the nature, fact, or
       extent of the activity or give knowing consent due to circumstances including
       without limitation the following:

           1. The person is incapacitated due to the use or influence of alcohol or drugs;"

       2. The University Student Conduct Protocol for Allegations of Sexual Misconduct

   70. When a student violates the community standards outlined in the Code, the Office for

Student Conflict Resolution ("OSCR") has the responsibility of administering the "Student

Disciplinary Procedures" as authored and authorized by the SCSD. Defendant provided this

aforementioned authority to SCSD.




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    71. The Defendant's OSCR provides for "Student Disciplinary Procedures" on the website

http://www. conflictresolution.illinois.edu/student discipline/.

    72. The OSCR addresses "all behavioral violation" of the Code committed by individuals.

    73. "Appendix D" provisions of the "Student Disciplinary Procedures" apply to cases that

include an accusation of sexual misconduct, including sexual assault. Appendix D defines, and

also outlines, the procedures and protocols for "Allegations of Sexual Misconduct, Including

Sexual Harassment, Sexual Assault, Sexual Exploitation, Stalking, Dating Violence, and Domestic

Violence." See a true and correct copy of Appendix D, attached hereto as Exhibit "B."

   74. Section 1 provides definitions for various terms within "Appendix D." For instance,

Section 1 defines "Subcommittee on Sexual Misconduct" as, "[t]he group of faculty, staff, and

students trained to adjudicate cases that include allegations of sexual misconduct, including sexual

harassment, sexual assault, sexual exploitation, stalking, dating violence, and domestic violence.

This group is selected by OSCR staff and approved by the SCSD."

   75. Section 2 provides for the investigation process and procedures.

   76. Section 2a provides for the "Intake and Review." Pursuant to Section 2a, the OSCR

oversees the investigations of allegations against students. Once notified of the allegations covered

by "Appendix D," the Executive Director, will appoint at least two investigators to conduct the

investigation. The "Lead Investigator and at least one other investigator will first interview any

participating complainants to determine the precise nature of the allegations."

   77. After the "Lead Investigator" determines "whether the allegations, if substantiated, would

violate the Student Code," a "Charge Notice" is issued pursuant to Section 2b. The written "Charge

Notice" informs the respondent of the approximate date, time, place, and type of incident, as well

as of the section(s) of the Student Code that the respondent is alleged to have violated."



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    78. After the written "Charge Notice" is issued, the "Lead Investigator" proceeds to interview

the respondent pursuant to Section 2c.

    79. Section 2d provides for "Information Collection and Witness Interviews." Section 2d

states, in part: "[t]he respondent and the complainant will be given the opportunity to provide

supporting information and documentation and to identify witnesses." The "Lead Investigator" is

to review all submitted materials.

    80. Section 2e provides for "Follow-up Interviews."

    81. Section 2f provides for "Updates," which require the OSCR to "provide both the

respondent and the complainant , with periodic status updates during the investigation, the

adjudication process, and the appeals process."

    82. Section 2g provides "Timeline." This section anticipates a duration of an investigation to

be approximately 45 calendar days following the "Charge Notice." Further, "If the duration of an

investigation will substantially exceed this estimate, the Lead Investigator will provide written

notice to both the respondent and the complainant of the delay and the reason for the delay."

    83. Section 3 provides for the "Investigative Report."

    84. Section 3a provides for the "Initial Investigative Report" initially stating, "[u]pon

completion of the initial investigation, the investigators will compile all relevant information into

a written report."

    85. Section 3b provides for "Report Review." This section allows for the respondent and

complainant the opportunity to review the "Initial Investigative Report" in the OSCR "during

normal business hours and to submit a written response."

    86. Section 3c provides for "Additional Investigation," stating "After reviewing the submitted

responses, the investigators will conduct any additional investigation they deem appropriate and



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revise the investigative report as necessary." Therefore, the investigators have full control as to

what is contained in the report.

   87. Section 3d provides for the "Final Review and Response," stating, in part, "[b]oth the

respondent and the complainant will be given five business days to review the revised report in the

Office for Student Conflict Resolution during normal business hours and to submit a final written

response, which may also include impact statements, character statements, statements of desired

outcome, and any other information believed relevant for sanction determination."

   88. Section 3f provides for the "Final Investigative Report." The "Final Investigative Report"

includes:

             1.   The revised investigative report.
             2.   Any final responses from the respondent and the complainant.
             3.   A proposed statement of fact.
             4.   Proposed responsibility determinations.
             5.   A rationale for the finding of fact and responsibility determinations.

   89. The "Final Investigative Report" is controlled entirely by the investigators, contains

hearsay, and unduly influences findings of fact and responsibility determinations by the Panel of

members of the Subcommittee on Sexual Misconduct.

   90. Section 4 provides for "Panel Adjudication." The section does not provide for a hearing.

Further, this section does not provide for presentment of student testimony or evidence.

   91. Section 4a provides for the "Appointment of Panel." Section 4a provides, inter alia, for the

Executive Director, to appoint a "Panel" composed of three members of the Subcommittee on

Sexual Misconduct, a pool of trained university faculty, students, and staff members. Before

membership of this Panel is finalized, OSCR will provide both the respondent and the complainant

with a list of all members of the Subcommittee on Sexual Misconduct. The respondent and

complainant may challenge the objectivity of any "Panel" person. "At least one faculty member


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and one student must be appointed to each Panel," and then the "voting Panel members will select

a faculty member to serve as Chair."

    92. Section 4a further provides, inter alia, that "[p ]rior to serving on a Panel, all Panel members

will have received appropriate annual training, developed in consultation with the University's

Title IX Coordinator, on sexual harassment, sexual assault, sexual exploitation, stalking, dating

violence, domestic violence, and the physiological and psychological effects of trauma."

    93 . Section 4b provides for "Panel Review of the Investigative Report." Section 4b states that

"Panel members will have five business days to review the Final Investigative Report" over which

the investigators have final control.

   94. No hearing is provided for the complainant and the respondent to present their testimony

or evidence to the "Panel."

   95. Section 4c provides for "Panel Review Meeting." Section 4c states:

   "After the Panel members have reviewed the Final Investigative Report, the Panel will meet

with and question the investigators. The Panel will be advised by the Executive Director or her/his

designee, who will not be allowed to vote. If the Chair determines that the Panel requires additional

guidance, the Panel may consult with ODEA or the Office of University Counsel."

   96. Section 4f provides for "Panel Deliberation." Section 4d provides, inter alia, that after the

Panel questions the investigators, the Panel will "excuse the investigators and enter into closed

deliberation." Further, non-voting members, including the Executive Director, will remain for

deliberation. Moreover, "The Panel will make its decision by simple majority vote and will apply

the preponderance of the information standard when deciding on a statement of fact and

determining responsibility."




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    97. Section 4fl provides that the Panel may "[a]ccept the recommendations and rationale of

the investigators set forth in the Final Investigative Report." The Panel, therefore, may accept the

hearsay report of the investigator who controls the hearsay testimony entered into the "Final

Investigative Report."

    98. Section 4f2 also allows the Panel to reject the recommendations of the investigators.

    99. Section 4±3 also allows the Panel to collect additional information before reaching a

decision.

    100.       Section 4g provides for "Sanctions." Section 4e provides, inter alia, that the "Panel

must provide a written rationale for all sanctions, conditions, and restrictions."

    101.       Section 4h provides for "Notice of Action Taken." Section 4f states, "OSCR will

provide written notification of the Panel's decision, including rationales, to both the respondent

and the complainant by the end of the next business day. This notification will also include

information regarding the respondent's and complainant's right to appeal the Panel's decision."

    102.       Section 5 provides for the "Appeal Procedures."

       3. The Agreements between Defendant and John Doe

    103.       Plaintiff applied and was accepted to the University's MBA class of 2018.

    104.       Upon Plaintiff's acceptance to the University, the Defendant provided Plaintiff

copies of its school policies, including the Code, Policy, Appendix D, and the Student Disciplinary

Procedures of which are available on the university's website. These Defendant policies set forth

the procedures by which students who have been accused of violating one or more of the

enumerated policies are investigated, heard, and possibly, disciplined.

    105.       Prior to accepting the offer for enrollment, John Doe reviewed the policies, in whole

or in part. While enrolled at the University, Plaintiff reviewed the policies in whole or in part.



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    106.       The code provides the following Preamble, § 1-101:

               a. A student at the University of Illinois at the Urbana-Champaign campus is a
       member of a University community of which all members have at least the rights and
       responsibilities common to all citizens, free from institutional censorship; affiliation with
       the University as a student does not diminish the rights or responsibilities held by a student
       or any other community member as a citizen oflarger communities of the state, the nation,
       and the world. (Emphasis added).

               b. Any rules or regulations considered necessary to govern the interaction of the
       members of the University community are intended to reflect values that community
       members must share in common if the purpose of the community to advance education and
       to enhance the educational development of students is to be fulfilled. These values include
       the freedom to learn, free and open expression within limits that do not interfere with the
       rights of others, free and disinterested inquiry, intellectual honesty, sustained and
       independent search for truth, the exercise of critical judgment, respect for the dignity of
       others, and personal and institutional openness to constructive change. The following
       enumeration of rights shall not be construed to deny or disparage other rights retained by
       these individuals in their capacity as members of the campus community or as citizens of
       the community at large. (Emphasis added).

    107.       The Code does not allow the Defendant to deny Plaintiffs Due Process rights in

liberty and property to learn as a student and a citizen of the community at large. Further the Code

does not allow the Defendant to even diminish the Due Process rights held by a student or a citizen

of the community. The freedom to learn is a right to continuing education that cannot be taken by

government without Due Process.

    108.       The Code provides the following Privacy Rights, §1-104, in relevant part: "(a)

Members of the University community have the same rights of privacy as other citizens and

surrender none of those rights by becoming members of the academic community .. .". The right to

privacy is a liberty right protected by Due Process of the Fourteenth Amendment to the U.S.

Constitution. See Exhibit "A."




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    109.        The Student Disciplinary Procedures Section 1.01 - History, provides and

represents in relevant part, "The Trustees asserted their belief in the concept that the university

discipline system shall be separate from, but coexistent with, general systems established by

society to deal with the conduct of citizens of society." The general systems established by society

when being accused of rape is to provide a formal hearing for the accused, to allow the accused to

confront his accusers during the hearing and to allow an attorney to represent the accused at that

hearing. The procedures in Appendix D are not coexistent with general systems established by

society when someone is accused of rape. The procedures do not afford the constitutional

minimum of a right of the accused to attend a hearing, to testify at that hearing and to confront or

cross-examine his accusers and to be represented by an attorney.

    110.        The Student Disciplinary Procedures Section 1.02 - Philosophy, provides and

represents in relevant part, "The community supports each member's right to study and work in a

quiet, respectful, non-violent atmosphere that is conducive to the pursuit and acquisition of

knowledge." The right to study is a right to continuing education that cannot be taken by

government without Due Process.

    111.        The Student Disciplinary Procedures Section 1.04 - Nature of System, provides

and represents in relevant part, "Our disciplinary system is not intended to be adversarial in nature

and is substantially less formal than a court oflaw. The majority of cases, in which severe sanctions

are not likely to be considered, can and should be handled informally." Therefore, the converse is

also true; i.e., in a case in which severe sanctions are likely to be considered, such as being expelled

from the University because of a claim of rape, can and should be handled formally. A formal

procedure requires, at minimum, the right of the accused to attend a hearing, to testify at that

hearing, to confront his accusers at the hearing and to be represented by counsel.



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    112.       The Code, Policy, Appendix D, and the Student Disciplinary Procedures afforded

rights to Plaintiff in a property right in continuing education, his degree and diploma, and a

protected liberty interest in good name and reputation.

    113.       Defendant represented to Plaintiff through its Code, Policy, appendix D, and the

Student Disciplinary Procedures that Plaintiffs property right to education, learning, and studying

would not be dismissed from the University without following its specified procedures. The

Defendant further represented that his Due Process rights would not be denied or diminished.

    114.       Plaintiff accepted these aforementioned representations and covenants from

Defendant and paid his tuition to Defendant while a MBA student at the University. An agreement

and implied contract was formed between Plaintiff and Defendant to not dismiss Plaintiff from the

University or improperly withhold his MBA without Due Process.

    115.       The agreements, representations, and covenants between Plaintiff and Defendant

do not disclaim that the Code, Policy, Appendix D, and the Student Disciplinary Procedures do

not form an express or implied contract between John and Defendant.



                                        COUNT!
      Violation of the Due Process Clause of the 14 th Amendment to the United States
                Constitution, Pursuant to 42 U.S.C. §§ 1983, 1985 and 1988

    116.       Plaintiff repeats, re-alleges and incorporates by reference, the allegations contained

in the preceding paragraphs 1 through 115 as if set forth fully herein.

    117.       The Fourteen Amendment to the United States Constitution proves that no state

shall "deprive any person oflife, liberty, or property, without due process oflaw."

    118.       A person has a protected liberty interest in pursuing his education as well as in

future educational and employment opportunities and occupational liberty, of which he cannot be

deprived without due process.

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    119.         Plaintiffs constitutionally protected property interest in his MBA degree, which he

completed and earned, and relied upon, and continues to rely upon, for his employment and

immigration status, are to be free from arbitrary dismissal arise from the policies, courses of

conduct, practices and process set forth by Defendant.

    120.         Plaintiffs constitutionally protected property interest in his MBA degree, his

employment and his immigration status arise from the express and implied contractual relationship

between Defendant and Plaintiff.

    121.         It is well established that Fourteenth Amendment due process protections are

required in the higher education disciplinary proceedings such as the University of Illinois.

   122.          Thus, a person who has been admitted to a public university, and has paid tuition

to that university, has a protected property interest in the degree earned through coursework and

the payment of tuition. The State cannot deprive a person of this interest without due process.

   123.          As a result, Plaintiff, who was subjected to disciplinary action that included the

possibility of suspension or dismissal, if found responsible, is entitled to the due process

protections of the Fourteenth Amendment to the United States Constitution.

   124.          Defendant, as a public university, has an absolute duty to provide its students equal

protection and due process of law by and through any and all policies and procedures set forth by

the Defendant.

   125.          Plaintiff concluded his studies in the MBA program, earning exceptional academic

marks, abided by his financial obligations to the University and had obeyed the University's

policies when he was dismissed from the University and his MBA degree withheld from him

despite having completed his course work and participated in the graduation ceremony.




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       126.         Under both federal and state law, Plaintiff had a constitutionally protected property

interest in his MBA degree.

       127.         Plaintiff was entitled to process commensurate with the seriousness of the

allegations and the potential discipline, sanctions, and repercussions he was facing.               The

allegations in this matter, resulted in a sanction that will have lifelong ramifications for Plaintiff,

including loss of his degree, employment and immigration status and are quasi-criminal in nature.

       128.         Plaintiff was entitled to fundamentally fair procedures to determine whether he was

responsible for the alleged sexual misconduct involving Jane Roe.

       129.         In the course of its investigation and hearing process, Defendant knowingly,

flagrantly and maliciously violated Plaintiffs clearly established rights under the Due Process

Clause of the Fourteenth Amendment through the Defendant's repeated acts of deprivation of the

minimal requirements of procedural fairness.

       130.         Upon information and belief, Defendant was pressured by the Department of

Education into complying with the Title IX investigative and adjudicatory process mandated by

the 2011 Dear Colleague Letter. Upon information and belief, the University did nothing to change

its policies following the issuance of the 2017 Dear Colleague Letter, which called into question,

including the lack of cross-examination, seen in the educational disciplinary process mandated by

the 2011 version.

       131.         Upon information and belief, Defendant was further pressured to make an example

out of male students such as John Doe due to increased negative media attention on the "rape

culture" at the University of Illinois. 2 On October 30, 2017, a student newspaper published an op-




2
    https://will.illinois.edu/news/story/student-groups-address-rape-culture-on-u-of-i-campus


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ed titled, Like a Broken Record, UJ Continues to Remind us it Cares about Sexual Assault. 3

Victim's rights advocacy groups were active on campus, protesting the "rape culture" with

monikers like "we believe survivors. 4 " The University was also actively involved in promoting

April as Sexual Assault Awareness Month (SAMM). 5

       132.          Defendant deprived Plaintiff of his liberty and property interests without affording

him basic due process, including but not limited to, his right to a fair adjudication, to a meaningful

opportunity to be heard by those making the decision on credibility and ultimately responsibility,

to question his accuser, to challenge the credibility of other adverse witnesses, and to present

evidence and witnesses in support of his defense. Rather than permit Plaintiff to present his

defense to the Panel, Defendant conducted a superficial and secretive hearing while having full

control of what is presented to the Panel for adjudication of the charges.

       133.          In attempting to demonstrate Defendant's compliance with the 2011 Dear

Colleague Letter, and based on the gender bias expressed in its own training materials and implicit

in its policies and procedures, the Defendant subjected Plaintiff to an insufficient process when

they failed to provide Plaintiff with a fair and reasonable opportunity to defend himself and arrived

at a predetermined, arbitrary and unwarranted decision.

       134.          As a result, Defendant failed to provide Plaintiff with the basic due process

protections that Defendant is required to provide students accused of sexual misconduct and faced

with a possible sanction of dismissal.




3   https://dail yillini.com/opinions/20 I 7/ 10/30/broken-record-illinois-continues-remind-us-cares-sex ual-assault/

4
    https://www.facebook.com/SASAUIUC/

5   https://oiir.illinois.edu/womens-center/wrc-events/sexual-assault-awareness-month


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    135.       Defendant, as well as their agents, representatives, and employees of the University

were acting under the color of law when they showed intentional, outrageous, and reckless

disregard for Plaintiffs constitutional rights.

    136.       Defendant, as well as their agents, representatives, and employees of the University

agreed to, approved, and ratified this unconstitutional conduct.

    13 7.      As a result of these due process violations, Plaintiff continued to suffer ongoing

harm, including damages to his reputation, loss of his MBA degree, eventual loss of employment

and reduced immigration, and other non-economic and economic damages. Furthermore, Plaintiff

is unable to obtain his MBA degree, despite having completed the coursework in a satisfactory

manner and his future is shattered.

    138.         As a direct and proximate cause of Defendant's conduct, Plaintiff sustained

tremendous damages to his person and reputation, including without limitation, emotional distress,

loss of his MBA degree and imminent loss of employment and comparable future employment

obligations, and a significantly lower probability of being able to remain in the United States,

economic damages and other direct and consequential damages.

    139.       Plaintiff is entitled to injunctive relief as a result of the depravation of his due

process and equal protection rights. Preliminary injunctive should return the status quo before the

controversy at issue, with Plaintiff having graduated from the University with his degree and future

intact.

    140.       Further, injunctive relief to provide Plaintiff with a fair and equitable student

disciplinary process conforming with his due process and equal protection rights is proper.

Plaintiff is entitled to have a hearing affording him his rights under the law. In contrast, the




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University can have no legitimate interest in failing to provide a fair, equitable and impartial

hearing, conforming to the law and the rights at are afforded to persons under the law.

    141.        Money damages are inadequate in that money damages will not adequately and

fully compensate Plaintiff for the loss of time in obtaining his MBA degree, his ability to maintain

his employment and preferred immigration status, further educational opportunities, and damage

to his reputation and good name.

    142.        Further the harm to Plaintiff is irreparable. Without injunctive relief, for example,

the Plaintiff will lose his job, will likely be ineligible for the necessary visa to remain in the United

States and will have an educational record forever tarnished, requiring Plaintiff to explain his lack

of MBA degree, gap in employment and immigration issues.



                                              COUNT II
                                               Title IX

    143.        Plaintiff repeats, re-alleges and incorporates by reference, the allegations contained

in the preceding paragraphs 1 through 142 as if set forth fully herein.

    144.        Title IX of the Educational Amendments of 1972 ("Title IX"), codified at 20 U.S.C.

§ 1681, et seq., provides, in relevant part, "No person in the United States shall, on the basis of sex,

be excluded from participation or activity receiving Federal financial assistance."

    145.          Title IX applies to all public and private educational programs and institutions

that receive any federal financial assistance.

    146.        The University is a public educational institution that receives federal funding

and/or assistance and is therefore subject to Title IX.




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    147.        The University's imposition of discipline where gender is a motivating factor in the

investigation and/or decision to discipline relating to allegations of sexual misconduct is

enforceable through a private cause of action.

    148.        Defendant had an obligation under Title IX to ensure that adequate training is

provided to investigate and determine what constitutes a violation and appropriate discipline was

provided by Defendant.

    149.        The Defendant is required to provide basic due process rights to all parties involved

in a sexual misconduct investigation and/or hearing.

    150.        Pursuant to Title IX, Plaintiff has a right to pursue his education free from

discrimination by Defendant on the basis of sex.

    151.        In violation of Title IX, Plaintiff was wrongfully subjected to a University

disciplinary process marred by procedural flaws and sexual bias against males.

    152.        Plaintiff was subjected to an erroneous outcome by Defendant with respect to the

investigation and discipline issued against him in this matter, in violation of Title IX.

    153.        Upon information and belief, Defendant's training materials provided to

investigators, the panel and the Senate Committee, instilled a bias against male students accused

of violating its policies, as the training materials identifies males as the perpetrators in all but one

of the "case studies" provided and in certain instances, identifies gender violence victims as

female.

    154.        The training materials, combined with the pressure to eradicate gender based

violence on campus, create a bias against male students facing charges relating to sexual

misconduct.




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    155. -     The denial of due process and gender bias that existed throughout the investigation

and enforcement of the discipline against Plaintiff resulted in an erroneous outcome that was based

on flawed facts, logic and credibility determinations by Defendant.

    156.       Upon information and belief, male students in sexual misconduct cases at the

University are discriminated against on the basis of their sex. Male students are presumed guilty,

forced to meet a burden of proof that is inconsistent with the University's polices, and credibility

determinations are made against male students. In situations where both students have consumed

alcohol, the male student is presumed to have engaged in sexual misconduct regardless of whether

the female student has consented or initiated the sexual conduct.

    157.        As a direct and proximate cause of Defendant's conduct, Plaintiff sustained

tremendous damages to his person and reputation, including without limitation, emotional distress,

loss of his MBA degree and imminent loss of employment and comparable future employment

obligations, and a significantly lower probability of being able to remain in the United States,

economic damages and other direct and consequential damages.

                                          COUNTIII
                                       Breach of Contract

    158.       Plaintiff repeats, re-alleges and incorporates by reference, the allegations contained

in the preceding paragraphs 1 through 157 as if set forth fully herein.

    159.       Based on the foregoing, Defendant created express and implied contracts when

Plaintiff accepted an offer of admission, paid the required tuition and fees and fully completed his

coursework in a satisfactory manner. In exchange for Plaintiffs performance of his contractual

obligation, Defendant agreed to provide enrollment in the MBA program and confer a MBA degree

and to conduct itself in accordance with its written policies and procedures.




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    160.          Defendant breached its express and/or implied contract with Plaintiff by not

conferring his degree and by failing to follow the University' s written policies and procedures,

including but not limited to the following:

            a. Defendant's Code, Policy, Appendix D, and the Student Disciplinary Procedures

       provides that students will not be dismissed from the University without following its

        specified procedures;

            b. The Defendant's Policy further provided that students' Due Process Rights would

        not be denied or diminished;

            c. Defendant deprived Plaintiff of the opportunity to have any kind of hearing, despite

        the severity of the charges against him and the potentially devastating effects on his

        academic and professional career;

            d. Instead, Defendant selected two investigators to investigate the allegations and to

        collect evidence. The investigators interviewed Plaintiff about the topic and permitted him

        to provide additional explanations, questions and evidence in writing.

            e. Defendant did not permit Plaintiff to attend his hearing on the charges, thereby

        depriving him of the procedural safeguards that have repeatedly been judicially required to

        be present in such a hearing, including the right to be heard, the right to present evidence

        and witnesses, confront one's accuser, and challenge adverse witnesses through cross-

        examination, all before an impartial and objective factfinder.

    161 .         Defendant violated Plaintiffs fundamental right to liberty in his good name,

reputation and employment without a fair and just hearing process and in violation of his Due

Process rights.




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    162.       Therefore, Defendant violated the contract with Plaintiff when it failed to afford

him a proper hearing on the charges before him and failing to award him the degree that he had

already earned.

                                             COUNTIV
                                        Declaratory Judgment

    163.       Plaintiff repeats, re-alleges and incorporates by reference, the allegations contained

in the preceding paragraphs 1 through 162 as if set forth fully herein.

    164.       Defendant has committed numerous violations of Plaintiffs rights as set forth

herein.

    165.       Plaintiffs future educational, career, and immigration prospects have been severely

damaged. Without appropriate redress, the unfair outcome will continue to cause irreversible and

irreparable damages to Plaintiff to his educational, employment and immigration prospects, in

perpetuity.

    166.       As a result of the foregoing, there exists a justiciable controversy between the

Plaintiff and Defendant with respect to the outcome, pe1manency, and future handling of Plaintiffs

formal student record at the University.

    167.       Therefore, Plaintiff respectfully requests that this Honorable Court, pursuant to 28

U.S.C. §2201, declare that: (i) the outcome and findings made by Defendant relating to the

allegations set forth by Jane Roe be reversed; (ii) Plaintiffs reputation be restored; (iii) Plaintiffs

disciplinary record be expunged and sealed; (iv) any record of Plaintiffs dismissal from the

University be removed from his educational file; (v) any record of Jane Roe's complaint against

Plaintiff be permanently destroyed; (vi) Plaintiff be reinstated to the University and be conferred

the MBA degree that he had earned prior to the complaint; (vii) Defendant's rules, regulations and


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guidelines relating to the adjudication of allegations of sexual misconduct are unconstitutional as

applied.

                                           COUNTV
                                      Declaratory Judgment

    168.       Plaintiff repeats, re-alleges and incorporates by reference, the allegations contained

in the preceding paragraphs 1 through 167 as if set forth fully herein.

    169.       Based on the foregoing, Defendant created express and implied contracts when

Plaintiff accepted an offer of admission, paid the required tuition and fees and fully completed his

coursework in a satisfactory manner. In exchange for Plaintiffs performance of his contractual

obligation, Defendant agreed to provide enrollment in the MBA program and confer a MBA degree

and to conduct itself in accordance with its written policies and procedures.

    170.       Defendant breached its express and/or implied contract with Plaintiff by not

conferring his degree and by failing to follow the University's written policies and procedures,

including but not limited to the following:

   f.   Defendant's Code, Policy, Appendix D, and the Student Disciplinary Procedures provides

that students will not be dismissed from the University without following its specified procedures;

   g. The Defendant's Policy further provided that students' Due Process Rights would not be

denied or diminished;

   h. Defendant deprived Plaintiff of the opportunity to have any kind of hearing, despite the

severity of the charges against him and the potentially devastating effects on his academic and

professional career;

   i.   Instead, Defendant selected two investigators to investigate the allegations and to collect

evidence. The investigators interviewed Plaintiff about the topic and permitted him to provide

additional explanations, questions and evidence in writing.


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   J.      Defendant did not permit Plaintiff to attend his hearing on the charges, thereby depriving

him of the procedural safeguards that have repeatedly been judicially required to be present in such

a hearing, including the right to be heard, the right to present evidence and witnesses, confront

one's accuser, and challenge adverse witnesses through cross-examination, all before an impartial

and objective factfinder.

    171.          Defendant violated Plaintiffs fundamental right to liberty in his good name,

reputation and employment without a fair and just hearing process and in violation of his Due

Process rights.

    172.          Therefore, Defendant violated the contract with Plaintiff when it failed to afford

           him a proper hearing on the charges before him and failing to award him the degree that he

           had already earned.

WHEREFORE, for the foregoing reasons, Plaintiff respectfully requests that this Honorable

Court enter an order for judgement in favor of Plaintiff and against Defendants as follows:

   (i)        A preliminary and subsequent permanent injunction fully reinstating Plaintiff to the

              University, allowing him to formally graduate and conferring upon Plaintiff his MBA

              degree, as he would have had he not been unjustly dismissed from the University;

   (ii)       Expunge and/or seal any reference to the Jane Roe complaint, the charges, the

              investigation and/or the adjudication of the charges from Plaintiffs disciplinary file;

   (iii)      The record of Plaintiffs dismissal be removed from his educational file;

   (iv)       Defendant's rules, regulations and guidelines relating to the adjudication of allegations

              of sexual misconduct are unconstitutional as applied;

   (v)        An award of Plaintiffs attorney's fees and costs; and




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(vi)     Awarding Plaintiff such other and further relief that this Court deems just, equitable

         and proper.



                                                         Respectfully submitted,

                                                         Isl Eric F. Long

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